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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION


DENNIS TOOLEY,                        )
an Individual,                        )
                                      )               CASE NO.: 4:18-cv-00251-HEA
              Plaintiff,              )
vs.                                   )
                                      )
KATHERINE A. GREEN,                   )
an Individual,                        )
                                      )
and                                   )
                                      )
SANSONE GROUP, LLC,                   )
a Missouri Limited Liability Company, )
                                      )
              Defendants.             )
____________________________________)


                             JOINT NOTICE OF SETTLEMENT


       PLEASE TAKE NOTICE that Plaintiff and Defendant have reached an agreement

regarding all substantive issues in dispute. The parties are currently in the process of obtaining

their respective client’s signatures. The parties anticipate filing a joint stipulation for dismissal

within twenty (20) days.

Dated: July 8, 2019

Respectfully Submitted,                               Respectfully Submitted,




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  /s/ Brian T. Ku                                  /s/ Bryan M. Kaemmerer             .
   Brian T. Ku, Esq.                               Bryan M. Kaemmerer #52998
   Bar ID No.: 610461FL                            Brian E. McGovern, #34677
   Ku & Mussman, P.A.                              MCCARTHY, LEONARD &
   18501 Pines Blvd, Suite 209-A                   KAEMMERER, L.C.
   Pembroke Pines, FL 33029                        825 Maryville Centre Dr., Ste. 300
   Tel: (305) 891-1322                             St. Louis, Missouri 63017
   Fax: (305) 891-4512                             Tel: (314) 392-5200
   brian@kumussman.com                             Fax: (314) 392-5221
                                                   bmcgovern@mlklaw.com
  Jeff S. Keech, MO #56100                         bkaemmerer@mlklaw.com
  The Law Offices of Jeff Keech
  Chesterfield, MO 63017                           Attorneys for Defendants Katherine A. Green
  Tel: (314) 576-9989                              and Sansone Group, LLC
  Fax: (305) 891-4512
  jeffkeech@yahoo.com

  Attorneys for Plaintiff




                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 8th day of July, 2019, I electronically filed the

foregoing with the Clerk of Court using the CM/ECF system with a copy electronically delivered

through CM/ECF to all attorneys of record.



                                             /s/ Brian T. Ku
                                             Brian T. Ku, Esq.
                                             Bar ID No.: 610461FL




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